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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

      Plaintiff,

v.                                               Civil Action File No.
                                                 1:18-cv-05868-LMM
JOSEPH A. MEYER, JR. and
STATIM HOLDINGS, INC.,

      Defendants.


                                     ORDER

      This matter is before the Court on Receiver Al Hill’s (“Receiver”) Motion to

Allow and Pay Fees and Expenses to the Receiver (Fourth Interim Application)

(“Motion”).     The Receiver requests payment of attorneys’ fees and expenses

incurred in his duties as Receiver during the period April 1, 2020, to June 30, 2020.

No other party filed a response to the Motion, and it is deemed unopposed. N.D.

Ga. LR 7.1(B). Having considered the Motion, and that it is unopposed,

      IT IS HEREBY ORDERED that the Receiver’s Motion to Allow and Pay

Fees and Expenses to the Receiver (Fourth Interim Application) is GRANTED.

The Receiver is authorized to draw down $143,491.10 from the assets of the

receivership.
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SO ORDERED this ___ day of _________________, 2020.



                                   _____________________________
                                   Leigh Martin May
                                   United States District Judge
                                   Northern District of Georgia




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